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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6                                           SAN JOSE DIVISION

                                   7

                                   8     LIONEL RUBALCAVA,                                    Case No. 20-cv-04191-BLF
                                   9                     Plaintiff,
                                                                                              ORDER GRANTING PLAINTIFF’S
                                  10               v.                                         MOTION TO CERTIFY
                                                                                              DEFENDANTS’ QUALIFIED
                                  11     JOSEPH PEREZ, STEVEN SPILLMAN,                       IMMUNITY APPEAL AS FRIVOLOUS
                                         and TOPUI FONUA,
                                  12                                                          [Re: ECF 306]
Northern District of California




                                                         Defendants.
 United States District Court




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                                  15            Before the Court is Plaintiff’s Motion to Certify Defendants’ Qualified Immunity Appeal
                                  16   as Frivolous. See Pl.’s Mot., ECF 306. The motion is fully briefed, and the Court finds it to be
                                  17   suitable for decision without oral argument. See Civ. L.R. 7-1(b).
                                  18            The motion is GRANTED for the reasons discussed below.
                                  19    I.      BACKGROUND
                                  20            Plaintiff’s Conviction, Release, and Filing of this Suit
                                  21            The facts of this case are well-known to the parties and need not be repeated in full here.
                                  22   In brief, Plaintiff claims that law enforcement officers’ fabrication of evidence and other
                                  23   misconduct caused him to be wrongfully prosecuted for a 2002 drive-by shooting that paralyzed
                                  24   the victim from the waist down. Plaintiff was convicted and served seventeen years in prison
                                  25   before the Santa Clara County District Attorney’s Office, based on an internal reinvestigation,
                                  26   joined with Plaintiff in a stipulated motion to vacate the conviction and to find Plaintiff actually
                                  27   innocent. The Santa Clara County Superior Court granted the motion to vacate the conviction and
                                  28   made the requested finding of innocence. Plaintiff thereafter filed this suit on June 25, 2020.
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                                   1            This Court’s MSJ Order

                                   2            A number of parties and claims were dismissed during the first three years of this

                                   3   litigation. The case was further streamlined by this Court’s order of March 27, 2024, granting in

                                   4   part and denying in part a defense motion for summary judgment (“MSJ Order”). See MSJ Order,

                                   5   ECF 264. The MSJ Order left four civil rights claims for trial against three individual defendants,

                                   6   all of whom were members of the San Jose Police Department at the time of the shooting: Joseph

                                   7   Perez, Topui Fonua, and Steven Spillman (“Defendants”). See id. at 39. The Court denied

                                   8   Defendants’ motion for summary judgment on Plaintiff’s § 1983 claims for fabrication of

                                   9   evidence (Claim 1), Brady1 violations (Claim 2), malicious prosecution (Claim 3), and conspiracy

                                  10   (Claim 4). See id.

                                  11            Of particular relevance here, the Court denied Defendants’ motion for summary judgment

                                  12   on the basis of qualified immunity. With respect to Claim 1, the Court found that the record
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                                  13   evidence gives rise to disputed issues of fact as to whether Defendants deliberately fabricated their

                                  14   police reports by stating that witnesses had made unequivocal identifications of Plaintiff as the

                                  15   shooter when they had not done so, by misquoting witnesses, and by making false statements

                                  16   regarding the circumstances of the reported witness identifications. See MSJ Order at 25. The

                                  17   Court also found that if Plaintiff’s version of events is credited, Defendants’ conduct violated a

                                  18   constitutional right that was clearly established prior to the 2002 shooting and investigation,

                                  19   specifically, the right not to be subjected to criminal charges on the basis of false evidence that

                                  20   was deliberately fabricated by the government. See id. at 26-27.

                                  21            With respect to Claim 2, the Court found that the record evidence gives rise to disputed

                                  22   issues of fact as to whether Defendants violated Brady by failing to disclose evidence going to the

                                  23   credibility of the government’s eyewitnesses. See MSJ Order at 29. The Court also found that if

                                  24   Plaintiff’s version of events is credited, Defendants’ conduct violated a constitutional right that

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                                           Brady v. Maryland, 373 U.S. 83 (1963).
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                                   1   was clearly established prior to the 2002 shooting and investigation, specifically, the right to

                                   2   disclosure of Brady material by police officers. See id. at 30.

                                   3          With respect to Claim 3, the Court found that the record evidence gives rise to disputed

                                   4   issues of fact as to whether Defendants caused Plaintiff to be prosecuted with the intent to deprive

                                   5   him of constitutional rights guaranteed under the Fourteenth Amendment, including the right not

                                   6   to be subjected to criminal charges on the basis of false evidence and the right to exculpatory

                                   7   evidence. See id. at 35. The Court also found that if Plaintiff’s version of events is credited,

                                   8   Defendants’ conduct violated constitutional rights that were clearly established before the 2002

                                   9   shooting and investigation. See id. at 36.

                                  10          Defendants did not raise a separate qualified immunity argument with respect to Claim 4

                                  11   for conspiracy.

                                  12          Defendants’ Interlocutory Appeal and Plaintiff’s Current Motion
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                                  13          Defendants timely appealed the denial of their motion for summary judgment on the basis

                                  14   of qualified immunity. See Not. of Appeal, ECF 279. This Court determined that the appeal did

                                  15   not divest it of jurisdiction to proceed with the Final Pretrial Conference on April 23, 2024 and to

                                  16   issue rulings on the parties’ motions in limine, as those proceedings were unrelated to the issues

                                  17   raised in Defendants’ appeal relating to qualified immunity. See Order Following Pretrial

                                  18   Conference, ECF 302; Order Re Motions in Limine, ECF 309.

                                  19          At the Final Pretrial Conference, Plaintiff advised the Court that he intended to file a

                                  20   motion to certify Defendants’ qualified immunity appeal as frivolous, and he requested that the

                                  21   trial proceed on August 2, 2024 as scheduled if his motion is granted. Plaintiff’s motion has been

                                  22   filed and briefed, and is ready for disposition.

                                  23    II.   LEGAL STANDARD

                                  24          “An order denying a motion for summary judgment is usually not an immediately

                                  25   appealable final decision.” Est. of Anderson v. Marsh, 985 F.3d 726, 730 (9th Cir. 2021). “But

                                  26   that general rule does not apply when the summary judgment motion is based on a claim of

                                  27   qualified immunity[.]” Id. (quotation marks and citation omitted). Public officials may file an

                                  28   immediate interlocutory appeal of a district court’s denial of a summary judgment motion brought
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                                   1   on qualified immunity grounds. See id.; Chuman v. Wright, 960 F.2d 104, 105 (9th Cir. 1992).

                                   2   Such an appeal automatically divests the district court of jurisdiction to proceed with trial pending

                                   3   appeal, absent certification by the district court that the appeal is frivolous or waived. See

                                   4   Rodriguez v. Cnty. of Los Angeles, 891 F.3d 776, 791 (9th Cir. 2018); Chuman, 960 F.2d at 105.

                                   5           The Ninth Circuit’s jurisdiction to consider interlocutory appeals in the qualified immunity

                                   6   context is “circumscribed,” Est. of Anderson, 985 F.3d at 730, and an appeal that falls outside that

                                   7   circumscribed jurisdiction properly is characterized as frivolous, see Rodriguez, 891 F.3d at 792.

                                   8   An appeal is within the Ninth Circuit’s jurisdiction if it raises a purely legal contention that the

                                   9   defendants’ conduct did not violate clearly established law even if all facts are viewed in the light

                                  10   most favorable to the plaintiff. See Est. of Anderson, 985 F.3d at 731; Rodriguez, 891 F.3d at 791.

                                  11   However, an appeal generally falls outside the Ninth Circuit’s jurisdiction if it raises “a fact-

                                  12   related dispute about the pretrial record, namely, whether or not the evidence in the pretrial record
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                                  13   was sufficient to show a genuine issue of fact for trial.” Est. of Anderson, 985 F.3d at 731

                                  14   (quotation marks and citation omitted).

                                  15           Even where it falls within the Ninth Circuit’s appellate jurisdiction, “[a]n appeal is

                                  16   frivolous when the result is obvious or the appellant’s arguments are wholly without merit.”

                                  17   Blixseth v. Yellowstone Mountain Club, LLC, 796 F.3d 1004, 1007 (9th Cir. 2015) (quotation

                                  18   marks and citation omitted). A district court may certify a qualified immunity appeal as frivolous

                                  19   even where it raises a purely legal argument, if the court determines that the argument is baseless.

                                  20   See Greer v. Cnty. of San Diego, No. 19CV378-JO-DEB, 2023 WL 2145528, at *6 (S.D. Cal. Feb.

                                  21   21, 2023) (certifying qualified immunity appeal as frivolous based on finding that “there is no

                                  22   merit to the argument that a reasonable jail official . . . would believe that it was lawful to ignore a

                                  23   lower bunk assignment for a detainee with epilepsy”); Barbosa by & through Barbosa v. Shasta

                                  24   Cnty., No. 2:20-cv-02298-JAM-DMC, 2023 WL 1804093, at *3 (E.D. Cal. Feb. 7, 2023)

                                  25   (certifying qualified immunity appeal as frivolous after finding the defendants’ legal argument “to

                                  26   be baseless such that the appeal is frivolous”).

                                  27    III.   DISCUSSION

                                  28           Plaintiff asks this Court to certify Defendants’ qualified appeal as frivolous on two
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                                   1   grounds. First, Plaintiff argues that Defendants do not accept his facts as true in asserting their

                                   2   entitlement to qualified immunity, and that Defendants’ argument that they did not violate clearly

                                   3   established law is based on their own version of events rather than Plaintiff’s version. Second,

                                   4   Plaintiff argues that if the facts are construed in the light most favorable to him, it is beyond

                                   5   dispute that Defendants violated constitutional rights that were clearly established at the time of

                                   6   the 2002 shooting and investigation. Both of these asserted grounds are proper bases for

                                   7   Plaintiff’s motion. “District courts have certified appeals of qualified immunity as frivolous

                                   8   where (1) defendants claim to rely on, but do not actually rely on, the plaintiff’s version of the

                                   9   facts, or (2) where defendants’ legal arguments run afoul of clearly established law.” James v.

                                  10   City of Los Angeles, No.: 2:21-cv-04525-CBM-(ASx), 2024 WL 1135099, at *2 (C.D. Cal. Feb. 7,

                                  11   2024) (collecting cases).

                                  12           In opposition, Defendants argue that they do accept Plaintiff’s facts as true for purposes of
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                                  13   the qualified immunity analysis. Defendants contend that even assuming that all disputed facts are

                                  14   resolved in Plaintiff’s favor, the law in 2002 did not clearly establish that their conduct violated

                                  15   the Constitution.

                                  16           The Court takes up these issues in turn.

                                  17           A.      Defendants do Not Accept Plaintiff’s Version of Events

                                  18           Plaintiff first argues that Defendants’ appeal is frivolous because their assertion of

                                  19   entitlement to qualified immunity is based on their own version of the facts rather than Plaintiff’s

                                  20   version. That argument is well-taken. Defendants’ opening brief on appeal has not yet been filed.

                                  21   However, Defendants’ opposition to the current motion makes clear that Defendants’ assertion of

                                  22   entitlement to qualified immunity is based on their view that any misstatements in their police

                                  23   reports constitute mere mischaracterizations of the eyewitness identification procedures that do not

                                  24   rise to the level of a constitutional violation.

                                  25           For example, Defendants argue that in order to defeat qualified immunity with respect to

                                  26   his fabrication claim, “the conduct Plaintiff would have to show was clearly unconstitutional in

                                  27   2002 is a police officer’s mischaracterizing in an unsworn police report a witness’s words or

                                  28   actions during a photo identification procedure.” Defs.’ Opp. at 3 (emphasis added), ECF 310.
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                                   1   Defendants argue that there was no clearly established law in 2002 establishing that such

                                   2   mischaracterization in a police report would rise to the level of a constitutional violation, and that

                                   3   under the most relevant case – Gausvik v. Perez, 345 F.3d 813 (9th Cir. 2003) – such

                                   4   mischaracterization in an officer’s report would not be a constitutional violation. In Gausvik, the

                                   5   Ninth Circuit held that an affidavit for probable cause containing errors was insufficient to support

                                   6   a claim for deliberate fabrication of evidence, because although the affidavit indicated that the

                                   7   officer had been careless with the facts, that carelessness did not rise to the level of deliberate

                                   8   fabrication of evidence. See Gausvik, 345 F.3d at 817.

                                   9          If Defendants’ version of events were accepted, under which any misstatements in their

                                  10   police reports may be attributable to mere carelessness or mischaracterizations, then Defendants

                                  11   might be entitled to qualified immunity. However, both this Court and the Ninth Circuit must

                                  12   accept Plaintiff’s version of events in evaluating Defendants’ entitlement to qualified immunity.
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                                  13   Viewing the facts in the light most favorable to Plaintiff, the Defendants did not merely

                                  14   mischaracterize aspects of the eyewitness identifications in their reports. In its MSJ Order, this

                                  15   Court found that Plaintiff presented evidence sufficient to create triable issues of fact as to whether

                                  16   Defendants deliberately fabricated evidence by describing in their police reports eyewitness

                                  17   identifications that did not occur, misquoting witnesses, and making false statements regarding the

                                  18   circumstances of the reported witness identifications. See MSJ Order at 25. Defendants cannot

                                  19   challenge this Court’s determinations regarding the existence of those triable issues of fact. And

                                  20   given those triable issues, Defendants’ failure to accept Plaintiff’s version of the facts renders their

                                  21   qualified immunity appeal frivolous.

                                  22          With respect to Plaintiff’s Brady claim, Defendants argue that they are entitled to qualified

                                  23   immunity based on pre-2002 cases holding Brady does not obligate the government to disclose a

                                  24   witnesses’ failure to identify a suspect from a photo array. See United States v. De Palma, 461

                                  25   F.2d 240 (9th Cir. 1972); Davis v. United States, 735 A.2d 467 (D.C. 1999). In De Palma, the

                                  26   Ninth Circuit found it “doubtful” that Brady required disclosure of an eyewitness’s failure to

                                  27   identify the defendant from a blurry Polaroid photograph when she later identified the defendant

                                  28   from a clearer photograph and at trial. See De Palma, 461 F.2d at 241. In Davis, the District of
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                                   1   Columbia Court of Appeals held that Brady did not require the government to disclose a witness’s

                                   2   failure to identify the defendant from a photo array, opining that “a failure to identify (as opposed

                                   3   to a misidentification) is not exculpatory.” Davis, 735 A.2d at 476 n.14.

                                   4           Again, if Defendants’ version of events were accepted, under which Defendants merely

                                   5   mischaracterized some aspects of the eyewitness identifications, these authorities might entitle

                                   6   them to qualified immunity. Under Plaintiff’s version of events, however, Defendants did not

                                   7   merely fail to disclose a witness’s failure to identify the defendant. Plaintiff claims that

                                   8   Defendants fabricated witness identifications and lied about witnesses’ expressions of uncertainty

                                   9   regarding identifications that were made. In its MSJ Order, this Court found that Plaintiff

                                  10   presented evidence sufficient to create triable issues of fact as to whether Defendants engaged in

                                  11   that claimed misconduct. See MSJ Order at 28-29. Defendants cannot challenge this Court’s

                                  12   determinations regarding the existence of those triable issues of fact. And given those triable
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                                  13   issues, Defendants’ failure to accept Plaintiff’s version of the facts renders their qualified

                                  14   immunity appeal frivolous.

                                  15           Based on the foregoing, the Court concludes that Defendants’ appeal of the denial of their

                                  16   motion for summary judgment based on qualified immunity is frivolous, because Defendants do

                                  17   not assume resolution of all disputed facts in favor of Plaintiff. This conclusion is consistent with

                                  18   the decisions of numerous district courts within the Ninth Circuit certifying appeals as frivolous

                                  19   where the defendants’ assertion of qualified immunity failed to accept the plaintiff’s version of the

                                  20   facts. See, e.g., James, 2024 WL 1135099, at *3 (certifying appeal as frivolous because

                                  21   “Defendants’ argument in opposition to the Motion demonstrates that they do not accept

                                  22   Plaintiff’s facts as true in asserting their entitlement to qualified immunity.”) ; I.A. v. City of

                                  23   Redondo Beach, No. CV 20-06447 DDP (JPRx), 2023 WL 6881022, at *3 (C.D. Cal. Oct. 17,

                                  24   2023) (certifying appeal as frivolous where, “[a]s he did at the summary judgment stage,

                                  25   Defendant again draws all inferences in his own favor rather than in favor of Plaintiffs.”).

                                  26           Plaintiff’s motion to certify Defendants’ interlocutory appeal as frivolous is GRANTED on

                                  27   the ground that Defendants’ assertion of qualified immunity does not assume resolution of all

                                  28   disputed facts in Plaintiff’s favor.
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                                   1          B.      If Plaintiff’s Version of Events is Credited, Defendants’ Appeal is Baseless

                                   2          Next, Plaintiff argues that if the facts are construed in the light most favorable to him, it is

                                   3   beyond dispute that Defendants violated constitutional rights that were clearly established at the

                                   4   time of the 2002 shooting and investigation. This Court found as much in its MSJ Order,

                                   5   concluding that if Defendants deliberately fabricated their police reports as claimed by Plaintiff,

                                   6   their conduct violated clearly established law articulated in Devereaux v. Abbey, 263 F.3d 1070

                                   7   (9th Cir. 2001). Devereaux held that “there is a clearly established constitutional due process right

                                   8   not to be subjected to criminal charges on the basis of false evidence that was deliberately

                                   9   fabricated by the government.” Devereaux, 263 F.3d at 1074-75. This Court also concluded in its

                                  10   MSJ Order that if Plaintiff’s version of events is accepted, Defendants are not entitled to qualified

                                  11   immunity on the Brady claim “[b]ecause it was clearly established by 1984 that police officers

                                  12   were bound by Brady, and that evidence undermining the credibility of government witnesses fell
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                                  13   within Brady’s ambit.” MSJ Order at 30 (quoting Carrillo v. Cnty. of Los Angeles, 798 F.3d 1210,

                                  14   1226 (9th Cir. 2015)).

                                  15          Defendants correctly point out that “[a]n appeal from the denial of qualified immunity is

                                  16   not frivolous solely because the district court based its order on what it perceived to be clearly

                                  17   established law.” Suzuki v. Cnty. of Contra Costa, No. 18-CV-06963-SI, 2019 WL 4674418, at *2

                                  18   (N.D. Cal. Sept. 25, 2019). In this case, however, Defendants simply present no legal basis for a

                                  19   determination that they are entitled to qualified immunity if Plaintiff’s version of events is

                                  20   credited. Defendants have not cited any cases finding that police officers were entitled to qualified

                                  21   immunity for claims arising from their deliberate fabrication of police reports which led to the

                                  22   prosecution of an innocent man.

                                  23          Under these circumstances, the Court need not address Defendants’ objection to Plaintiff’s

                                  24   citation to Harris v. Roderick, 126 F.3d 1189 (9th Cir. 1997), on the basis that Harris was not

                                  25   cited in the summary judgment briefing. The Court does not rely on Harris in concluding that

                                  26   Defendants’ qualified immunity appeal is frivolous.

                                  27          Accordingly, Plaintiff’s motion to certify Defendants’ interlocutory appeal as frivolous is

                                  28   GRANTED on the additional ground that Defendants have not presented any legal basis for a
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                                   1   determination that they are entitled to qualified immunity if Plaintiff’s version of events is

                                   2   credited.

                                   3    IV.   ORDER

                                   4          (1)     Plaintiff’s Motion to Certify Defendants’ Qualified Immunity Appeal as Frivolous

                                   5                  is GRANTED.

                                   6          (2)     Absent issuance of a stay by the Ninth Circuit, jury selection remains scheduled to

                                   7                  commence on August 2, 2024.

                                   8          (3)     This order terminates ECF 306.

                                   9

                                  10   Dated: May 24, 2024                              ______________________________________
                                                                                        BETH LABSON FREEMAN
                                  11                                                    United States District Judge
                                  12
Northern District of California
 United States District Court




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